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                                           of 2
Appellate Case: 23-1162       Document: 010110860455 Date Filed: 05/16/2023 Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                         Jane K. Castro
 Clerk of Court                                                             Chief Deputy Clerk
                                         May 16, 2023


  Christopher Hotaling
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  70 West Madison Street, Suite 5200
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  John Sandweg
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  799 Ninth Street, N.W., Suite 500
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  RE:       23-1162, In re: Rudolph, et al
            Dist/Ag docket: 1:22-CR-00012-WJM-1

 Dear Counsel:

 Your petition for writ of mandamus was docketed today. Please note the case number
 above. You will be notified as soon as the court takes action on this matter.

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. A disclosure statement must be filed even if
 there is nothing to disclose. Rule 26.1 disclosure statements must be promptly updated as
 necessary. See 10th Cir. R. 26.1(A).

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court
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                                       of 2
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  cc:     Kurt Bohn
          John W. Dill
          Lauren I. Doyle
          Bryan David Fields
          J. Bishop Grewell
          David Oscar Markus
          Anita Margot Moss
          Edwin Garreth Winstead III



  CMW/jm
